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____________________________________________________________________________
                                                      SO ORDERED,




                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
____________________________________________________________________________
                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI



In Re: DOROTHY RUTH McWHIRTER                                                            CHAPTER 13
                                                                                       NO. 20-10993 DW



                        ORDER CONFIRMING CHAPTER 13 PLAN

      The Debtor’s plan was filed on April 2, 2020, and amended/modified by subsequent order
      (s) of the court, if any. The plan was transmitted to creditors pursuant to Bankruptcy Rule
3015. The court finds that the plan meets the requirements of 11 U.S.C. § 1325.

IT IS ORDERED THAT:

       1. The Debtor’s chapter 13 plan attached hereto is confirmed.

       2. The following motions are granted (if any):

       a. Motion for valuation of security, payment of fully secured claims, and modification of
          unsecured claims made under Rule 3012 (§ 3.4 of the plan).
       b. Motion to avoid lien pursuant to Section 522 (§ 3.4 of the plan).

       3. The stay under Section 362(a) is terminated as to the collateral only and the stay under
          Secion 1301 is terminated in all respects regarding collateral listed in Section 3.5 of the
          plan (if any).

       4. All property shall remain property of the estate and shall vest in the debtor only upon
          entry of discharge. The debtor shall be responsible for the preservation and protection
          of all property of the estate not transferred to the trustee.




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       5. The Debtor’s attorney is awarded a fee in the amount of $3,600.00, of which $3,200.00
          is due and payable from the estate.

                                    ##END OF ORDER##

Approved:
 pproved:

______________________________
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  _ _____
       _ _____________
Attorney for the Debtor


Submitted by:
Locke D. Barkley, Ch. 13 Trustee
6360 I-55 North, Suite 140
Jackson, Miss. 39211
(601) 355-6661




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                           GRQRWFRPSO\ZLWKORFDOUXOHVDQGMXGLFLDOUXOLQJVPD\QRWEHFRQILUPDEOH7KHWUHDWPHQWRI$//VHFXUHGDQGSULRULW\
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                           SURYLVLRQZLOOEHLQHIIHFWLYHLIVHWRXWODWHULQWKHSODQ

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VSHFLILHGLQWKLVSODQ

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          ,QFRPHWD[UHWXUQVUHIXQGV

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                      'HEWRU V ZLOOVXSSO\WKHWUXVWHHZLWKDFRS\RIHDFKLQFRPHWD[UHWXUQILOHGGXULQJWKHSODQWHUPZLWKLQGD\VRIILOLQJWKH
                      UHWXUQDQGZLOOWXUQRYHUWRWKHWUXVWHHDOOQRQH[HPSWLQFRPHWD[UHIXQGVUHFHLYHGGXULQJWKHSODQWHUP
                      'HEWRU V ZLOOWUHDWLQFRPHUHIXQGVDVIROORZV

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     Check one.
                   1RQH If “None” is checked, the rest of § 2.4 need not be completed or reproduced

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               Check all that apply
                 1RQH If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

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           3ULQFLSDO5HVLGHQFH0RUWJDJHV$OOORQJWHUPVHFXUHGGHEWZKLFKLVWREHPDLQWDLQHGDQGFXUHGXQGHUWKHSODQSXUVXDQWWR86&
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           FODLPILOHGE\WKHPRUWJDJHFUHGLWRUVXEMHFWWRWKHVWDUWGDWHIRUWKHFRQWLQXLQJPRQWKO\PRUWJDJHSD\PHQWSURSRVHGKHUHLQ
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   F          0RUWJDJHFODLPVWREHSDLGLQIXOORYHUWKHSODQWHUP$EVHQWDQREMHFWLRQE\DSDUW\LQLQWHUHVWWKHSODQZLOOEHDPHQGHG
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8QOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWWKHLQWHUHVWUDWHVKDOOEHWKHFXUHQW7LOOUDWHLQWKLV'LVWULFW
 Insert additional claims as needed.

            0RWLRQIRUYDOXDWLRQRIVHFXULW\SD\PHQWRIIXOO\VHFXUHGFODLPVDQGPRGLILFDWLRQRIXQGHUVHFXUHGFODLPVCheck one..

                           1RQH If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                           The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                           3XUVXDQWWR%DQNUXSWF\5XOHIRUSXUSRVHVRI86& D DQG D  DQGIRUSXUSRVHVRIGHWHUPLQDWLRQRIWKH
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                           DWWKHOHVVHURIDQ\YDOXHVHWIRUWKEHORZRUDQ\YDOXHVHWIRUWKLQWKHSURRIRIFODLP$Q\REMHFWLRQWRYDOXDWLRQVKDOOEHILOHGRQ
                           RUEHIRUHWKHREMHFWLRQGHDGOLQHDQQRXQFHGLQ3DUWRIWKH1RWLFHRI&KDSWHU%DQNUXSWF\&DVH 2IILFLDO)RUP, 

                           7KHSRUWLRQRIDQ\DOORZHGFODLPWKDWH[FHHGVWKHDPRXQWRIWKHVHFXUHGFODLPZLOOEHWUHDWHGDVDQXQVHFXUHGFODLPXQGHU3DUW
                           RIWKLVSODQ,IWKHDPRXQWRIDFUHGLWRU¶VVHFXUHGFODLPLVOLVWHGEHORZDVKDYLQJQRYDOXHWKHFUHGLWRU¶VDOORZHGFODLPZLOOEH
                           WUHDWHGLQLWVHQWLUHW\DVDQXQVHFXUHGFODLPXQGHU3DUWRIWKLVSODQ8QOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWWKHDPRXQWRIWKH
                           FUHGLWRU¶VWRWDOFODLPOLVWHGRQWKHSURRIRIFODLPFRQWUROVRYHUDQ\FRQWUDU\DPRXQWVOLVWHGLQWKLVSDUDJUDSK

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 Insert additional claims as needed.
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          6HFXUHGFODLPVH[FOXGHGIURP86&

      Check one.
                          1RQH If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          7KHFODLPVOLVWHGEHORZZHUHHLWKHU
                            LQFXUUHGZLWKLQGD\VEHIRUHWKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDPRWRUYHKLFOH
                              DFTXLUHGIRUWKHSHUVRQDOXVHRIWKHGHEWRU V RU
                            LQFXUUHGZLWKLQ\HDURIWKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRIYDOXH

                          7KHVHFODLPVZLOOEHSDLGLQIXOOXQGHUWKHSODQZLWKLQWHUHVWDWWKHUDWHVWDWHGEHORZ8QOHVVRWKHUZLVHRUGHUHGE\WKHFRXUWWKH
                          FODLPDPRXQWVWDWHGRQDSURRIRIFODLPILOHGEHIRUHWKHILOLQJGHDGOLQHXQGHU%DQNUXSWF\5XOH F FRQWUROVRYHUDQ\
                          FRQWUDU\DPRXQWOLVWHGEHORZ,QWKHDEVHQFHRIDFRQWUDU\WLPHO\ILOHGSURRIRIFODLPWKHDPRXQWVVWDWHGEHORZDUHFRQWUROOLQJ

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          0RWLRQWRDYRLGOLHQSXUVXDQWWR86&

Check one.
                          1RQH If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

          6XUUHQGHURIFROODWHUDO

             Check one.
                     1RQH If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 3DUW      7UHDWPHQWRI)HHVDQG3ULRULW\&ODLPV

          *HQHUDO
             7UXVWHH¶VIHHVDQGDOODOORZHGSULRULW\FODLPVLQFOXGLQJGRPHVWLFVXSSRUWREOLJDWLRQVRWKHUWKDQWKRVHWUHDWHGLQZLOOEHSDLGLQIXOO
             ZLWKRXWSRVWSHWLWLRQLQWHUHVW

          7UXVWHH¶VIHHV
             7UXVWHH¶VIHHVDUHJRYHUQHGE\VWDWXWHDQGPD\FKDQJHGXULQJWKHFRXUVHRIWKHFDVH

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                 $WWRUQH\IHHWREHSDLGLQSODQSHUFRQILUPDWLRQRUGHU 
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             Check one.
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          'RPHVWLFVXSSRUWREOLJDWLRQV

                          1RQH If “None” is checked, the rest of § 4.5 need not be completed or reproduced.


 3DUW      7UHDWPHQWRI1RQSULRULW\8QVHFXUHG&ODLPV
          1RQSULRULW\XQVHFXUHGFODLPVQRWVHSDUDWHO\FODVVLILHG
             $OORZHGQRQSULRULW\XQVHFXUHGFODLPVWKDWDUHQRWVHSDUDWHO\FODVVLILHGZLOOEHSDLGSURUDWD,IPRUHWKDQRQHRSWLRQLVFKHFNHGWKHRSWLRQ
             SURYLGLQJWKHODUJHVWSD\PHQWZLOOEHHIIHFWLYHCheck all that apply.
               7KHVXPRI
                RIWKHWRWDODPRXQWRIWKHVHFODLPVDQHVWLPDWHGSD\PHQWRI
               7KHIXQGVUHPDLQLQJDIWHUGLVEXUVHPHQWVKDYHEHHQPDGHWRDOORWKHUFUHGLWRUVSURYLGHGIRULQWKLVSODQ
               ,IWKHHVWDWHRIWKHGHEWRU V ZHUHOLTXLGDWHGXQGHUFKDSWHUQRQSULRULW\XQVHFXUHGFODLPVZRXOGEHSDLGDSSUR[LPDWHO\
               5HJDUGOHVVRIWKHRSWLRQVFKHFNHGDERYHSD\PHQWVRQDOORZHGQRQSULRULW\XQVHFXUHGFODLPVZLOOEHPDGHLQDWOHDVWWKLVDPRXQW

                                                                             0LVVLVVLSSL&KDSWHU3ODQ                                        3DJH 
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                    %HVW&DVH%DQNUXSWF\
           Case 20-10993-JDW
           Case 20-10993-JDW                               Doc 10
                                                           Doc 20    Filed 04/02/20
                                                                     Filed 07/20/20 Entered
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 'HEWRU                'RURWK\5XWK0F:KLUWHU                                                      &DVHQXPEHU   

          2WKHUVHSDUDWHO\FODVVLILHGQRQSULRULW\XQVHFXUHGFODLPV VSHFLDOFODLPDQWV Check one

                          1RQH,I³1RQH´LVFKHFNHGWKHUHVWRIQHHGQRWEHFRPSOHWHGRUUHSURGXFHG

 3DUW      ([HFXWRU\&RQWUDFWVDQG8QH[SLUHG/HDVHV

          7KHH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVOLVWHGEHORZDUHDVVXPHGDQGZLOOEHWUHDWHGDVVSHFLILHG$OORWKHUH[HFXWRU\
             FRQWUDFWVDQGXQH[SLUHGOHDVHVDUHUHMHFWHG Check one

                          1RQH If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 3DUW      9HVWLQJRI3URSHUW\RIWKH(VWDWH

          3URSHUW\RIWKHHVWDWHZLOOYHVWLQWKHGHEWRU V XSRQHQWU\RIGLVFKDUJH

 3DUW      1RQVWDQGDUG3ODQ3URYLVLRQV

          &KHFN1RQHRU/LVW1RQVWDQGDUG3ODQ3URYLVLRQV
                    1RQH If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
7KHIROORZLQJSODQSURYLVLRQVZLOOEHHIIHFWLYHRQO\LIWKHUHLVDFKHFNLQWKHER[³,QFOXGHG´LQ

  7KHVHFXUHGWD[FODLPRIWKH0 '25VKRZQLQVKDOOEHSDLGLQWHUHVWDWWKHVWDWXWRU\UDWHRI DVUHTXLUHGE\86&

  7KHVHFXUHGWD[FODLPRIWKH0 DUVKDOO&RXQW\7D[&ROOHFWRUVKRZQLQVKDOOEHSDLGGLUHFWO\E\'HEWRURXWVLGHWKHFKDSWHUSODQ
 WRJHWKHUZLWKLQWHUHVWDWWKHVWDWXWRU\UDWHRI DVUHTXLUHGE\86&


 3DUW      6LJQDWXUHV

      6LJQDWXUHVRI'HEWRU V DQG'HEWRU V ¶$WWRUQH\
The Debtor(s) and attorney for the Debtor(s), if any, must sign below. If the Debtor(s) do not have an attorney, the Debtor(s) must provide their
complete address and telephone number.

 ;     V'RURWK\5XWK0F:KLUWHU                                             ;
       'RURWK\5XWK0F:KLUWHU                                                        6LJQDWXUHRI'HEWRU
       6LJQDWXUHRI'HEWRU
       ([HFXWHGRQ    0DUFK                                                 ([HFXWHGRQ

       1(%RXQGDU\
       $GGUHVV                                                                $GGUHVV
       +ROO\6SULQJV 06 
       &LW\6WDWHDQG=LS&RGH                                              &LW\6WDWHDQG=LS&RGH

       7HOHSKRQH1XPEHU                                                       7HOHSKRQH1XPEHU

 ;     V5REHUW*DPEUHOO                                                    'DWH     0DUFK
       5REHUW*DPEUHOO
       6LJQDWXUHRI$WWRUQH\IRU'HEWRU V
       5LFN\'%ULWW6U%OYG6WH
       2[IRUG06
       $GGUHVV&LW\6WDWHDQG=LS&RGH
                                                                  06
       7HOHSKRQH1XPEHU                                                       06%DU1XPEHU
       UJ#PVEDQNUXSWF\FRP
       (PDLO$GGUHVV




                                                                             0LVVLVVLSSL&KDSWHU3ODQ                                3DJH 
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                            %HVW&DVH%DQNUXSWF\
